UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW MEXICO

ln re: Las Uvas Valley Dairies
a New Mexico general partnership,
Ell\l: XX-XXXXXXX,

Debtor. No. 17-12356-tll
NOTICE OF PRELIMINARY HEARING
On Monday, May 21, 2018 at 9:30 a.m., a preliminary hearing will be held before
the Honorable David T. Thuma in Honorable David T. Thuma’s Hearlng Room, Pete V.
Dc)menici U.S. Courthouse, 333 Lomas Blvd. NW, Sth Floor, Albuquerqu_e, New MeXico on a

trailing docket, to consider:

1. Cereal Byproducts Company’s Motion for Allowance of Section 503(b)(9)
Administrative Claim (Docket No. 124);

2. Creditor Production Credit Association of Southern New Mexico‘ (Farm Credit of
New Mexico)’s Objection and Response to Motion of Cereal Byproducts Company
for Allowance of Administrative Expense Claim (Docket No. 127);

2. Any other objections thereto.

Appearing by telephbne: Counsel/parties may appear via telephone if a request is made in
advance by calling the chambers of Judge Thuma at (505) 600-4640 or by e-mail

to thumastal""li`@nmcourt.fed.us(linl< sends e~mail)

WILLIAM F. DAVIS & ASSOC., P. .
/s/ Electronicallv filed on 4/24/18
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I hereby certify that on Apri124, 2018, a true and correct
copy of this pleading Was served electronically by the Court’s
CM/ECF system upon all persons entitled to notice thereby
and Was mailed by First Class US mail, postage prepaid, to:

Alice Nystel Page
United States Trustee

P. O. Box 608
Albuquerque, NM 87103

Las Uvas Valley Dairies

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/s/ 4/24/2018
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